 

Case 2:05-cv-02433-.]WL Document 400 Filed 09/25/07 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF KANSAS

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L\P~ Plaimiff(s),

Case No. 0 5 “z%% gm L_‘

VS.

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Defendant(s).

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Singesiding Juror

 

 

 

ANSWER OF THE JUDGE,

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